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                                                                    5   Henderson, NV 89012

                                                                    6   Attorneys for Aquail Harris

                                                                    7                                 UNITED STATES DISTRICT COURT
                                                                    8                                        DISTRICT OF NEVADA
                                                                    9
                                                                          UNITED STATES OF AMERICA,                         CASE NO.: 2:17-CR-00160-JAD-VCF
                                                                   10
                                                                                             Plaintiff;
                                                                   11
                                                                                                                            STIPULATION AND PROPOSED
                                                                                vs.                                         ORDER TO CONTINUE SENTENCING
                          1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                                   12
KATHLEEN BLISS LAW PLLC




                                                                          AQUAIL JAMAR HARRIS                               (Second Request)
                                                                   13
                                HENDERSON, NEVADA 89012




                                                                   14                        Defendant.
                                    TEL: 702.463.9074




                                                                   15

                                                                   16          Aquail Harris, by and through his counsel of record, Kathleen Bliss, Esq., of the law firm

                                                                   17   Kathleen Bliss Law PLLC; and the United States of America, by and through Assistant United

                                                                   18   States Attorney Phillip Smith, and Lisa Gartier-Giroux hereby stipulate and request that the Court

                                                                   19   vacate Mr. Harris’s sentencing hearing currently set for April 30, 2018, at 11:00 a.m., and continue

                                                                   20   it to a later time convenient with the Court, but not less than thirty (30) days from the current

                                                                   21   setting, and not before the week of May 7, 2018.

                                                                   22          This stipulation is made and based upon the following:

                                                                   23           1. On November 15, 2017, Mr. Harris entered a plea of guilty to the Indictment

                                                                   24                 charging him with, Interference with Commerce by Robbery, in violation 18 U.S.C.

                                                                   25                 §§ 1951, Use of a Firearm During and in Relation to a Crime of Violence in violation

                                                                   26                 18 U.S.C §§ 924(c)(1)(A) and Conspiracy to Interfere with Commerce by Robbery,

                                                                   27                 in violation of 18 U.S.C. § 1951.

                                                                   28           2. Counsel for Mr. Harris is in Pennsylvania for trial in the case of Commonwealth v.


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                                                                    1
                                                                                   William H. Cosby., CP-46-3932 likely the end of April and possibly into May.
                                                                    2
                                                                                3. Mr. Harris is in custody pending sentencing, but he does not object to this
                                                                    3
                                                                                   continuance.
                                                                    4
                                                                                4. This is the second request for a continuance of the sentencing. The additional time
                                                                    5
                                                                                   requested herein is not sought for purposes of delay.
                                                                    6
                                                                                5. In light of the above, the parties stipulate to continue Mr. Harris’s sentencing hearing
                                                                    7
                                                                                   to a later date convenient to the Court, but not sooner than May 7, 2018.
                                                                    8

                                                                    9
                                                                        Dated this 25th day of April 2018.
                                                                   10

                                                                   11   /s/ Phillip Smith             x                      Kathleen Bliss____________
                                                                        PHILLIP SMITH                                        KATHLEEN BLISS
                          1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                                   12
KATHLEEN BLISS LAW PLLC




                                                                        Counsel for the United States                        Counsel for Aquail Harris
                                                                   13
                                HENDERSON, NEVADA 89012




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                                                                        /s/ Lisa Gartier-Giroux       x
                                                                   15   LISA GARTIER_GIROUX
                                                                        Counsel for the United States
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                                                                    1                                              ORDER
                                                                    2          Based upon the stipulation of the parties, and good cause appearing, it is hereby

                                                                    3   ORDERED that Mr. Harris’s sentencing hearing currently set for April 30, 2018, be, and the same

                                                                    4   hereby is, VACATED.

                                                                    5                                                                         June 12, 2018,
                                                                               IT IS FURTHER ORDERED that the sentencing hearing is reset for _________ 2018, at

                                                                    6   at
                                                                        thethe hour
                                                                            hour     of 9:00 a.m.
                                                                                 of _______  in Las Vegas Courtroom 6D before Judge Jennifer A. Dorsey.

                                                                    7          IT IS SO ORDERED.

                                                                    8

                                                                    9          4/25/2018
                                                                        DATED: ________________

                                                                   10
                                                                                                                   _________________________________
                                                                   11                                              HONORABLE JENNIFER A. DORSEY
                                                                                                                   UNITED STATES DISTRICT JUDGE
                          1070 W. HORIZON RIDGE PKWY., SUITE 202




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KATHLEEN BLISS LAW PLLC




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                                HENDERSON, NEVADA 89012




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